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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                                         )
STATE OF CALIFORNIA, et al.,             )
                                         )
                   Plaintiffs,           )
                                         )
      v.                                 )
                                         )
ELAINE L. CHAO, et al.,                  )
                                         )
                                                    No: 1:19-cv-2826-KBJ
                   Defendants,           )
                                         )
      and                                )
                                         )
THE COALITION FOR SUSTAINABLE            )
AUTOMOTIVE REGULATION and THE            )
ASSOCIATION OF GLOBAL                    )
AUTOMAKERS, INC.,                        )
                                         )
                   Movant-Intervenors.   )
                                         )


                                      )
ENVIRONMENTAL DEFENSE FUND, et al., )
                                      )
                  Plaintiffs,         )
                                      )
    v.                                )
                                      )
ELAINE L. CHAO, et al.,               )
                                      )
                                                    No: 1:19-cv-2907-KBJ
                  Defendants,         )
                                      )
    and                               )
                                      )
THE COALITION FOR SUSTAINABLE         )
AUTOMOTIVE REGULATION and THE         )
ASSOCIATION OF GLOBAL                 )
AUTOMAKERS, INC.,                     )
                                      )
                  Movant-Intervenors. )
                                      )
        Case 1:19-cv-02907-KBJ Document 21-1 Filed 10/31/19 Page 2 of 2



        [PROPOSED] ORDER GRANTING THE MOTION TO INTERVENE
     BY THE COALITION FOR SUSTAINABLE AUTOMOTIVE REGULATION
          AND THE ASSOCIATION OF GLOBAL AUTOMAKERS, INC.

       Upon consideration of the Motion of Intervene and Statement of Points and Authorities in

Support thereof filed by the Coalition for Sustainable Automotive Regulation (the “Coalition”)

and the Association of Global Automakers, Inc. (“Global Automakers”), it is hereby ORDERED

that the Motion to Intervene is GRANTED, and that the Coalition and Global Automakers

are added as Intervenors in the above-captioned proceedings.

       It is FURTHER ORDERED that the Coalition and Global Automakers’ Proposed Notice

of Intent to Join in Defendants’ Motion to Dismiss or Transfer (attached to their Motion to

Intervene) be deemed filed as of the date of this Order; and that their Proposed Joinder in

Defendants’ Motion to Dismiss, served on the parties on October 31, 2019, be deemed served as

of October 31, 2019.


Dated: _______________
                                             Judge Ketanji Brown Jackson
                                             UNITED STATES DISTRICT JUDGE




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